               Case 2:11-cr-00327-DAD Document 87 Filed 02/28/12 Page 1 of 3


     The Law Office of Olaf W. Hedberg
 1   Olaf W. Hedberg, State Bar #151082
     901 H St., Suite 673
 2   Sacramento, California 95814
     (916) 447-1192 office
 3   1-412-774-3537 fax
     o.hedberg@sbcglobal.net
 4

 5

 6

 7

 8

 9        IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

10                                            CALIFORNIA

11
                                                      Case Number: 11-CR-327 MCE
12   THE UNITED STAES OF AMERICA
                                                      STIPULATION AND ORDER
13   V.                                               REGARDING DEFENDANT HOUSING
14   Latrelle Hornbuckle et. al.
                                                      DATE: 2/27/12
15                                                    TIME: TBA
                                                      DEPT: Hon. Kendall J. Newman
16

17

18

19
            In the matter at bar Defendant seeks to alter the Court's previously issued Pretrial Release
20   Order issued by the Hon. Kendall J. Newman on August 4, 2011. Specifically, that order places

21   Latrelle Hornbuckle into the third party custody of her aunt, Angie Washington.
            Since that date Ms. Hornbuckle has been working with Child Protective Services to be
22
     reunited with her children. That reunion has been approved. Unfortunately there is no room at
23
     the Ms. Washington's address to accommodate the children.
24

25


                                                     1
               Case 2:11-cr-00327-DAD Document 87 Filed 02/28/12 Page 2 of 3


             I have spoken with Ms. Hornbuckle's Pretrial Services Officer Ms. Beth Baker. She has
 1
     been informed that a Ms. Candace Penn is willing to house Ms. Horbuckle. Ms. Baker has
 2
     investigated the situation and has learned that Ms. Penn is amenable to housing Ms. Hornbuckle
 3   and her children, has known Ms.Hornbuckle for eleven years, Ms. Penn has no known criminal
 4   history and that Ms. Penn is willing to report any known violations to Pretrial Services.
             As a result, Ms. Baker has no objection to the change. I have also spoken with AUSA
 5
     Kyle Reardon regarding this matter. He does not object to the change.
 6

 7           IT IS THERFORE STIPULATED:
 8           Ms. Latrelle Hornbuckle's Special Condition of Release #15, issued by the Hon. Kendall

 9
     J. Newman on August 4, 2011 identifying Angie Washington as Ms. Hornbuckle's third party
     custodian be altered to delete the name Angie Washington and the name Candace Penn be
10
     inserted in its stead.
11

12   Dated: February 27, 2012

13   BENJAMIN WAGNER
     United Sates Attorney
14
     _______/s/_________
15   Kyle Reardon
     ASSISTANT UNITED STATES ATTORNEY
16
     Dated: February 27, 2012
17
     OLAF W. HEDBERG
18

19   ______/S/__________
     Olaf W. Hedberg
20   ATTORNEY FOR LATRELLE HORNBUCKLE

21

22

23

24

25


                                                      2
                               Case 2:11-cr-00327-DAD Document 87 Filed 02/28/12 Page 3 of 3



 1                                                          IT IS SO ORDERED

 2
                             Ms. Latrelle Hornbuckle's Special Condition of Release #15, issued by the Hon. Kendall
 3
     J. Newman on August 4, 2011 identifying Angie Washington as Ms. Hornbuckle's third party
 4
     custodian be altered to delete the name Angie Washington and the name Candace Penn be
 5   inserted in its stead.
 6   Date: 2/28/2012

 7
                                                                 _____________________________________
 8                                                               KENDALL J. NEWMAN
                                                                 UNITED STATES MAGISTRATE JUDGE
 9
     DEAC_Signature-END:




10

11

12                         ad4mc0d
13

14

15

16

17

18

19

20

21

22

23

24

25


                                                                    3
